
*378OPINION.
Love :
Petitioner asserts that it sustained a. deductible loss in the amount of $32,907.24 upon the transaction set out in our findings. The respondent has denied the deduction upon the theory that a corporation can realize neither gain nor loss in the purchase of its own capital stock.
As authority for its contention, petitioner cites Callanan Road Improvement Co., 12 B. T. A. 1109; Behlow Estate Co., 12 B. T. A. 1365; New Jersey Porcelain Co., 15 B. T. A. 1059; and United States v. Cedarburg Milk Co., 288 Fed. 996. In Houston Brothers Co., 21 B. T. A. 804, we distinguished the Callanan and Cedarbu/rg cases, supra, and expressly disapproved our decisions in the Behlow Estate Go. and New Jersey Porcelain Co. cases, supra.
We think the instant case is governed by Houston Brothers Co '., supra, and upon authority of that case, petitioner must fail. See also S. A. Woods Machine Co., 21 B. T. A. 818.
Reviewed by the Board.

Judgment will be entered for the respondent.

